                    1:15-cv-01447-MMM # 75               Page 1 of 2
                                                                                                                        E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                      Friday, 18 November, 2016 02:26:56 PM
                                                                                          Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Central District
                                             __________          of__________
                                                        District of Illinois

                    Sandra Brown, et al.                       )
                             Plaintiff                         )
                                v.                             )       Case No.    15-1447-MMM
                     Angela Locke, et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants, Angela Locke, et al.                                                                                 .


Date:          11/18/2016                                                                 /s Gary S. Caplan
                                                                                          Attorney’s signature


                                                                         Gary S. Caplan, Asst. Chief Deputy AG, 6198263
                                                                                      Printed name and bar number
                                                                                   Illinois Attorney General's Office
                                                                                  100 W. Randolph Street, Floor 12
                                                                                           Chicago, IL 60601

                                                                                                Address

                                                                                       gcaplan@atg.state.il.us
                                                                                            E-mail address

                                                                                           (312) 814-5661
                                                                                           Telephone number

                                                                                           (312) 814-5024
                                                                                             FAX number
         1:15-cv-01447-MMM # 75          Page 2 of 2
                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS



             Sandra Brown, et al.               )
                   Plaintiff                    )
                      v.                        )     Case No. 15-1447-MMM
             Angela Locke, et al.               )
                  Defendant                     )


                                    CERTIFICATE OF SERVICE

I certify that on _______________,
                   11/18/2016      I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

 attorneys of record
_____________________________________________________________________________,

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

_____________________________________________________________________________.




                                                             /s Gary S. Caplan
                                                            Attorney’s signature

                                              Gary S. Caplan, Asst. Chief Deputy AG, 6198263
                                                       Printed name and bar number
                                                      Illinois Attorney General's Office
                                                     100 W. Randolph Street, Floor 12
                                                              Chicago, IL 60601

                                                                  Address

                                                          gcaplan@atg.state.il.us
                                                               E-mail address

                                                              (312) 814-5661
                                                             Telephone number

                                                              (312) 814-5024
                                                                Fax number




 Print                 Save As...                                                              Reset
